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                                 NORTHERN DISTRICT OF CALIFORNIA
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15   UNITED STATES OF AMERICA,                        )   CASE NO. 3:22-CR-426-JSC
                                                      )
16           Plaintiff,                               )   STIPLATION AND [PROPOSED] THIRD
                                                      )   SUPPLEMENTAL PROTECTIVE ORDER RE:
17      v.                                            )   PERSONNEL OR COMPLAINT RECORDS
                                                      )   RECEIVED FROM LAW ENFORCEMENT
18   DAVID WAYNE DEPAPE,                              )   AGENCIES
                                                      )
19           Defendant.                               )
                                                      )
20

21           With the agreement of the parties, the Court enters the following Third Supplemental Protective
22 Order Regarding Personnel or Complaint Records Received from Law Enforcement Agencies:

23           The United States will identify for production to the defense team certain personnel files and
24 related documents of law enforcement agencies, referred to hereafter as “Law Enforcement Personnel

25 Records” or “Records.” The United States will mark Law Enforcement Personnel Records as

26 “CONFIDENTIAL—SUBJECT TO THIRD SUPPLEMENTAL PROTECTIVE ORDER” or by

27 providing written notice specifically identifying discovery materials as Law Enforcement Personnel

28 Records.

     STIPULATION AND [P] 3RD SUPP. PROTECTIVE ORDER RE: LAW ENFORCEMENT RECORDS
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 1          To ensure that Law Enforcement Personnel Records are not subject to unauthorized disclosure or

 2 misuse,

 3          IT IS HEREBY ORDERED that:

 4          1.      The contents of the Records shall not be disclosed in any form to any other person by

 5 defense counsel except to the defendant or defense counsel’s investigators, assistants, employees, or

 6 independent contractors (collectively, with defense counsel, the “Defense Team”), and then only for the

 7 specific purpose of preparing or presenting a defense in this matter.

 8          2.      The Defense Team shall not directly provide the defendant with copies of, or permit

 9 defendant to make copies of, or have unsupervised access to, any Records, including discovery material

10 produced by the government that contains Records, unless the Records have first been entirely redacted

11 from the discovery materials. The government and defense counsel are ordered to work together to

12 ensure that these materials are protected, but that defendant has as much access to the materials as can

13 be provided consistent with this Court’s order.

14          3.      The defendant and all members of the Defense Team who receive, view, or are otherwise

15 made aware of the contents of the Records shall be provided a copy of this Order and shall sign and date

16 the Order reflecting their agreement to be bound by it prior to receiving, viewing, or otherwise being

17 made aware of the contents of the Records.

18          4.      Unless expressly authorized by this Court, no information derived from the Records

19 which are the subject of this Order, including but not limited to the identity of witnesses or

20 complainants, number of complaints, location of any incident or the existence of a complaint, may be

21 disclosed to any individual or entity for any other use, including, for example, any disclosure in any

22 unrelated case or proceeding where the person whose records have been disclosed is a witness.

23          5.      No copies shall be made of the Records disclosed to the defense without express

24 authorization of the Court. Nor shall the contents of the Records be transcribed or duplicated by any

25 other means except in an under seal filing with this Court in relation to the instant case.

26          6.      The parties may not use the Records in any court proceeding or otherwise disclose any

27 portion of the Records or their contents absent further order of this Court. If, after a review of the

28 Records, defense counsel believes that material contained therein is admissible at trial, the defense shall

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 1 make an appropriate in limine motion seeking admission of the material at issue. The motion shall be

 2 made under seal (accompanied by a request to file under seal) in order to comply with this Order

 3 regarding the public disclosure of the Records.

 4          7.      Within ten (10) working days after any judgment or disposition has become final and

 5 there are no pending proceedings, challenges, appeals, habeas or other motions in the case, any and all

 6 Records released under this order shall be destroyed or returned to the government, whether or not a

 7 specific request has been made for the return of said documents. No information derived from the

 8 disclosed Records may be used for any subsequent purpose or retained in any form, including any

 9 database or files, absent further order of this Court.

10

11     IT IS SO STIPULATED.                                 ISMAIL J. RAMSEY
                                                            United States Attorney
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13
       Dated: August 14, 2023                               __/s/___________________________________
14
                                                            HELEN L. GILBERT
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16                                                          Assistant United States Attorney

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18                                                          __/s/___________________________________
                                                            ANGELA CHUANG
19                                                          JODI LINKER
20                                                          Federal Public Defender
                                                            Assistant Federal Public Defender
21                                                          Counsel for Defendant David DePape

22

23     IT IS SO ORDERED.
24

25     Dated:                                               HON. JACQUELINE SCOTT CORLEY
26                                                          United States District Judge

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